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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

WORLD WRESTLING ENTERTAINMENT, INC.,                   : CIVIL ACTION NO.
                                                       : 3:18-CV-780
                      Plaintiff,                       :
VS.                                                    :
                                                       :
TRANSWORLD TELEVISION CORPORATION,                     :
                                                       :
                      Defendant.                       :
                                                         MAY 8, 2018

                                         COMPLAINT

       Plaintiff World Wrestling Entertainment, Inc. (“WWE”) hereby brings this Complaint

against Defendant Transworld Television Corporation (“TWT”).

                                        THE PARTIES

       1.      WWE is a Delaware corporation with a principal place of business at 1241 East

Main Street, Stamford, Connecticut, 06902. WWE is an integrated media and entertainment

company principally engaged in the development, promotion, and marketing of television

programming, pay-per-view programming, and live arena events featuring its unique wrestling-

based sports entertainment programming, and the licensing and sale of branded consumer

products featuring its famous brands.

       2.      TWT is a foreign corporation with a principal place of business at 14th Floor,

Concorde Building, Verdun Street, Beirut, Lebanon, P.O. Box 11-4932. TWT is a distributor of

television programming to the Middle Eastern and African broadcast markets.

                                   JURISDICTION AND VENUE

       3.      This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1332

because there is complete diversity of citizenship between the parties and the amount in

controversy, exclusive of interest and costs, exceeds $75,000.
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       4.      This Court has personal jurisdiction over TWT because TWT consented to

jurisdiction in this Court pursuant to Section 14(f)(ii) of an Agency Agreement dated March 12,

2007, as amended (“Agency Agreement”).

       5.      Venue is appropriate in this District under 28 U.S.C. § 1391(d) because an alien

may be sued in any District. TWT also has consented to venue in this District pursuant to

Section 14(f)(ii) of the Agency Agreement.

                                  FACTUAL BACKGROUND

The Agency Agreement Between WWE and TWT

       6.      WWE and TWT entered into an Agency Agreement, dated March 12, 2007, as

amended by agreements dated March 15, 2010 and April 18, 2014. A true and accurate copy of

the Agency Agreement with amendments is attached as Exhibit A to the Complaint.

       7.      Pursuant to Section 1 of the Agency Agreement, TWT had the right to solicit, on

behalf of WWE, television licenses with third parties in certain geographical areas within the

Middle East and Africa (the “Territory”).

       8.      Pursuant to Section 4 of the Agency Agreement, TWT was required to collect on

behalf of, and pay to, WWE all license fees with respect to television license agreements entered

within the Territory as a result of opportunities brought to WWE by TWT.

The License Agreement Between TWT and MBC

       9.      TWT and MBC FZ LLC (“MBC”) entered into a License Agreement, dated

August 13, 2012, as amended by an agreement dated December 4, 2013 (“License Agreement”).

A true and accurate copy of the License Agreement is attached as Exhibit B to the Complaint.

       10.     Pursuant to the License Agreement, TWT licensed to MBC certain WWE

television programs for telecasting within the Territory.



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       11.     The License Agreement sets forth the amount of the license fees that MBC is

required to pay to TWT each year during the term of the License Agreement and a schedule by

which such payments are to be made.

       12.     Pursuant to the schedule in the License Agreement, MBC was required to make

payments to TWT of $156,827.00 no later than May 15, 2017, $156,827.00 no later than August

15, 2017, and $117,036.00 no later than November 15, 2017.

       13.     Upon information and belief, MBC has made the above payments to TWT.

TWT’s Failure to Make Payments Due under the Agency Agreement

       14.     Pursuant to the Agency Agreement, TWT was required to collect and pay the

license fees from MBC to WWE.

       15.     WWE sent invoices to TWT for the payments due and owing under the Agency

Agreement, including: Invoice No. 117462 dated May 15, 2017 in the amount of $63,279.98,1

Invoice No. 11875 dated August 15, 2017 in the amount of $156,827.00, and Invoice No.

120651 dated November 15, 2017 in the amount of $117,036.00. A true and accurate copy of

these invoices is attached as Exhibit C to the Complaint.

       16.     TWT has not paid the amounts on the invoices sent by WWE that are attached as

Exhibit C to the Complaint, which are due and owing.

WWE’s Attempt to Collect Amounts Owed under the Agency Agreement

       17.     WWE made several attempts in good faith to contact TWT regarding its failure to

make the payments required by the Agency Agreement.

       18.     By letter dated February 6, 2018, WWE provided TWT with a formal notice that

TWT was in breach of the Agency Agreement for non-payment of outstanding license fees then

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         TWT paid $93,547.02 of the $156,827.00 payment that was due on May 15, 2017,
leaving an unpaid balance of $63,279.98 on that invoice.

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totaling $337,142.98. A true and accurate copy of the February 6, 2018 letter is attached as

Exhibit D to the Complaint.

        19.     By letter dated March 2, 2018, WWE gave TWT notice that, because WWE had

not heard back from TWT despite numerous attempts to reach TWT, in the event that full

payment of the unpaid balance of $337,142.98 owed to WWE was not received within five

business days of the letter, WWE would initiate proceedings against TWT in this Court in

accordance with Section 14(f) of the Agency Agreement. A true and accurate copy of the March

2, 2018 letter is attached as Exhibit E to the Complaint.

        20.     To date, TWT has not responded to WWE and has not paid WWE any of the

outstanding amounts due and owing under the Agency Agreement.

                                         COUNT ONE
                                       Breach of Contract

        21.     WWE re-alleges each of the foregoing paragraphs as if set forth fully herein.

        22.     The Agency Agreement constitutes a valid and enforceable contract between

WWE and TWT.

        23.     WWE has complied with all of its obligations under the Agency Agreement.

        24.     The Agency Agreement required TWT to collect and pay to WWE license fees

for certain television licenses.

        25.     TWT did not pay to WWE the license fees that are due and payable under the

Agency Agreement.

        26.     TWT’s failure to pay to WWE the license fees that are due and payable under the

Agency Agreement constitutes a breach of the Agency Agreement.

        27.     WWE has been damaged by TWT’s breach of the Agency Agreement.




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       28.      WWE is entitled to payment of all amounts due and payable under the Agency

Agreement, including interest on all outstanding amounts ($337,142.98 plus interest).

                                          COUNT TWO
                                          Account Stated

       29.      WWE re-alleges each of the foregoing paragraphs as if set forth fully herein.

       30.      WWE sent invoices to TWT reflecting the amounts owed to WWE for license

fees under the Agency Agreement.

       31.      TWT did not dispute the amounts owed to WWE on the invoices.

       32.      TWT never paid the amounts on the invoices sent by WWE that are attached as

Exhibit C to the Complaint.

       33.      WWE has been damaged by the failure of TWT to make payments on the invoices

that are attached as Exhibit C to the Complaint.

       34.      WWE is entitled to payment of all amounts reflected on the invoices that are

attached as Exhibit C to the Complaint.

                                    PRAYER FOR RELIEF

       WHEREFORE, WWE hereby demands the following relief against TWT:

       (a)      A declaratory judgment that TWT has breached the Agency Agreement;

       (b)      Monetary damages, including damages for unpaid license fees due under the

Agency Agreement in the amount of $337,142.98, exclusive of interest;

       (d)      Prejudgment interest and post-judgment interest;

       (e)      Attorney’s fees and costs; and

       (f)      Such other relief as this Court may deem just and proper.

       A JURY TRIAL IS HEREBY DEMANDED.




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                                      PLAINTIFF WORLD WRESTLING
                                      ENTERTAINMENT, INC.

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